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Case No. 22-CN-\376

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Case 1:22-cv-01376-WCG _— Filed 05/24/23. Page 3of4 Document14.

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Doded: May 22, 2025

Signed:

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